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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

                                            )
UNITED STATES OF AMERICA                    )         CRIMINAL NO. 3:13CR226(RNC)
                                            )
       v.                                   )
                                            )
DANIEL E. CARPENTER                         )
                                            )         NOVEMBER 14, 2017

            MR. CARPENTER'S MEMORANDUM IN SUPPORT OF HIS
                    MOTION FOR RECONSIDERATION OF
                 THE COURT'S DENIAL OF MR. CARPENTER'S
             JUDGMENT OF ACQUITTAL PURSUANT TO RULE 29

PRELIMINARY STATEMENT

       This Motion for Reconsideration is made to protect Mr. Carpenter's constitutional rights

and to prevent the manifest injustice that would occur if Mr. Carpenter was to be convicted for a

second time based on an unlawful expansion of the Mail & Wire Fraud statutes, which are

clearly ambiguous as applied to the circumstances of Mr. Carpenter's case. Indeed, it is well

established law that before there can be a "scheme to defraud" there must be a "scheme to

deceive," and the difference between the two is the "intent to harm" the victim. See United

States v. Takhalov, 827 F.3d 1307 (11th Cir. 2016):

       The Second Circuit has interpreted the wire-fraud statute in precisely this way. Their
       cases have "drawn a fine line between schemes that do no more than cause their victims
       to enter into transactions that they would otherwise avoid-which do not violate the mail
       or wire fraud statutes-and schemes that depend for their completion on a
       misrepresentation of an essential element of the bargain-which do violate the mail and
       wire fraud statutes." United States v. Shellef, 507 F.3d 82, 108 (2d Cir. 2007); see also
       United States v. Starr, 816 F.2d 94, 98 (2d Cir. 1987) ("Misrepresentations amounting
       only to a deceit are insufficient to maintain a mail or wire fraud prosecution. Instead, the
       deceit must be coupled with a contemplated harm to the victim [that] affect[s] the very
       nature of the bargain itself. Such harm is apparent where there exists a discrepancy
       between benefits reasonably anticipated because of the misleading representations and
       the actual benefits which the defendant delivered, or intended to deliver.") (internal
       quotation marks omitted); United States v. Regent Office Supply Co., 421 F.2d 1174,


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        1182 (2d Cir.' 1970) ("[W]e conclude that the defendants intended to deceive their
        customers but they did not intend to defraud them, because the falsity of their
        representations was not shown to be capable of affecting the customer's understanding of
        the bargain nor of influencing his assessment of the value of the bargain to him, and thus
        no injury was shown to flow from the deception,"). Moreover, the Second Circuit's
        interpretation of the wire-fraud statute is not a parochial interpretation of an ambiguous
        provision of federal law. Their interpretation follows as a matter oflogic from Congress's
        decision to use the phrase "scheme to defraud" rather than "scheme" or "scheme to
        deceive." We therefore adopt that interpretation as our own. A jury cannot convict a
        defendant of wire fraud, then, based on "misrepresentations amounting only to a deceit."
        ShelleJ, 507 FJd at 108. Thus, even if a defendant lies, and even if the victim made a
        purchase because of that lie, a wire-fraud case must end in an acquittal if the jury
        nevertheless believes that the alleged victims "received exactly what they paid for,"
        Takhalovat 1314-15, citing ShelleJ, 507 F.3d at 108.

        Unlike the defendants described in Takhalov above, Mr, Carpenter has not been proven to

have lied to anyone, nor has any carrier come forward to accuse Mr. Carpenter of lying, as was

the case in United States v, Binday, 804 FJd 558 (2d Cir, 2015). Whereas the Second Circuit has

referred to the standard for the intent to hann as "actual concrete hann", see, e.g., United States

v, Rossomando, 144 F.3d 197 (2d Cir. 1998) (mail fraud conviction vacated because there was

no proof that the defendant intended any harm to the victim so that the defendant's good faith

was unimpaired despite the jury's verdict), or recently as the Second Circuit concluded in United

States v. Finazzo, 850 F.3d 94 (2d Cir. 2017) citing United States v. Mittelstaedt, 31 FJd 1208

(2d Cir. 1994) that "[t]he common thread of these decisions is that misrepresentations or non-

disclosure of information cannot support a conviction under tile 'right to control' theory unless

those misrepresentations or non-disclosures can or do result in tangible economic harm,"

Finazzo at 111, there was no proof of any hann to the catTiers offered at Mr. Carpenter's trial.

Moreover, the government has not shown how paying $100 million to the carriers could possibly

cause "tangible economic harm." These words are nowhere to be found in Mr. Carpenter's trial

transcript.




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        Therefore, as a result of the insufficient evidence at trial and the offered new and

intervening controlling law, like Finazzo and United States v. Countrywide, 822 F.3d 650 (2d

Cir. 2016), Mr. Carpenter respectfully moves this Court to grant this Motion to Reconsider and

schedule a hearing to argue the points made in this Memorandum and Mr. Carpenter's original

Rule 29 Motion for a Judgment of Acquittal.

   I.      THE COURT SHOULD FURTHER CONSIDER THE SECOND CIRCUIT'S
           DECISION IN BINDAY AND HOW IT IS DISTINGUISHABLE IN THIS
           CASE

        Although Mr. Carpenter's Indictment was a carbon copy of the indictment in United

States v. Binday, 804 F.3d 558 (2d Cir. 2015), the cases could not be more different. While it

might be said that the defendants in Binday misled or lied or misrepresented vital economic

factors to the carriers, no evidence was offered to support that Mr. Carpenter had lied or

misrepresented anything to anyone. In fact, under the COlmnon law rule that "knowledge of the

agent is the knowledge of the principle," everything that Mr. Carpenter purportedly told to the

Lincoln and Phoenix agents, the Lincoln executives like Ken Elder, and the Lincoln Officers and

OSJ's like Fred Prelle and Charles Induddi-Westcott, is imputable to the carrier. See, e.g.,

Stipcich v. Metropolitan Life, 277 U.S. 311 (1928).

        Not only did the evidence show that Mr. Carpenter had not filled out or signed any

insurance applications in this case, all the evidence offered at trial supports that he told everyone

that it was "Split-Dollar" and not "premium financing," and it was therefore impossible to be

STOLT, because the only person that could buy the policy from the Charter Oak Trust was the

Insured and only the Insured.      The Charter Oa1e Trust had an insurable interest in every

participant, also making STOLT impossible in this case. As Ken Elder testified at tTial, "[Mr.




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Carpenter] was incredulous that we [Lincoln] could think that STOLl could be part of a 419

plan." See T. Tr. Vol. XI at 2054-55 attached as Exhibit One (emphasis added).

       As Bruce Mactas stated in the Universitas Arbitration, and Mr. Carpenter testified to at

trial, all of the STOLl questions were answered truthfully, honestly, and accurately. But, for the

purposes of tins motion, assuming that the questions were not answered accurately, not one

witness took the stand at trial and testified that Mr. Carpenter knowingly lied to anyone. Without

an intent to deceive, there cannot be a "scheme" to deceive, and without a "scheme to deceive,"

there cannot be a "scheme to defraud" as a matter of law in the Second Circuit:

       Essential to a scheme to defraud is fraudulent intent. United States v. D'Amato, 39 F.3d
       1249, 1257 (2d Cir. 1994). It is not sufficient that defendant realizes that the scheme is
       fraudulent and that it has the capacity to cause harm to its victims. United States v.
       Gabriel, 125 F.3d 89, 97 (2d Cir. 1997). Instead, the proof must demonstrate that the
       defendant had a "conscious knowing intent to defraud... [and] that the defendant
       contemplated or intended some hann to the property rights of the victim." United States
       v. Guadagna, 183 F.3d 122, 129 (2d Cir. 1999).

Also fi'om D 'Amato are the notable citations to Starr, Regent Office, and even Mittelstaedt:

       Therefore, an essential element of any mail fraud prosecution is proof of a "scheme or
       artifice to defraud." Id.; see also United States v. Starr, 816 F.2d 94, 98 (2d Cir.
       1987)....However, the govemment must show "that some actual harm or injury
       was contemplated by the schemer." Regent Office Supply Co., 421 F.2d at 1180; see
       also United States v. Mittelstaedt, 31 F.3d 1208, 1216 (2d Cir. 1994); Starr, 816 F.2d at
       98. D 'Amato at 1256-57.

       The reason that this is clUcial in Mr. Carpenter's case is that the govermnent (as well as

the Court) has based Mr. Carpenter's theory of guilt on the Second Circuit's opinion in Binday,

but this is what Binday had to say about these preeminent issues concerning Mail & Wire Fraud:

       It is not sufficient, however, to show merely that the victim would not have entered into a
       discretionary economic transaction but for the defendant's misrepresentations. The "right
       to control one's assets" does not render every transaction induced by deceit actionable
       under the mail and wire fraud statutes. Thus, we have repeatedly rejected application of
       the mail and wire fraud statutes where the purported victim received the full economic
       benefit of its bargain. Binday at 570.



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         Clearly the worst thing that can be said about STOLl is that it is "unsavory" or perhaps

"disreputable," but it is not illegal. In fact, it was not until 2011 that people had to become

licensed to do life settlements and every day senior citizens are pitched to sell their life insurance

policies by commercials on television. Mr. Carpenter's point, here are essentially threefold:

    1. There was no evidence offered at trial that the defendant lied or intended to deceive

         anyone;

   2. Anything the defendant told to the carriers' agents in this case, he also told the "carriers"
      as a matter of common law;

    3. The law of the Second Circuit as described in Binday, Countrywide, Finazzo, and
       Mittelstaedt is contrary to both his prosecution and conviction for Mail & Wire Fraud.

   II.      NONE OF THE MAILINGS OR WIRES IN THE INDICTMENT WERE IN
            FURTHERANCE OF ANY SCHEME TO DEFRAUD
         Just as there was no "scheme to defraud" in this case, none of the mailings or wires were

in furtherance of any scheme at all. In Binday, the alleged mailings and wires all involved the

original applications sent to the carriers. Here, because of the time delay in the prosecution, the

govemment could not use applications sent in to the carrier in 2006 or 2007 to sustain an

indictment in May of 2014. Therefore, the govermnent had to use "premium payments" as the

mailings and wires for the indictment, but none of the alleged mailings and wires were in

furtherance ofthe fraud as required by law. See, e.g., United States v. Tavares, 844 F.3d 46 (lst

Cir. 2016). Moreover, it is also axiomatic that any mailing or wire sent after the fraud has been

completed cannot be in furtherance either. See United States v. Altman, 48 F.3d 96 (2d Cir.

1995), as well as the Supreme Court's decisions in Kann v. United Sates, 323 U.S. 88 (1944),

Parr v. United States, 363 U.S. 370 (1960), and United States v. Maze, 414 U.S. 395,400 (1974)

(mailing must be for the purpose of executing the scheme, as the statute required.).

         With respect to the mailing element, the Supreme Court has written:


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       The federal mail fraud statute does not purport to reach all frauds, but only those limited
       instances in which the use of the mails is a part of the execution of the fraud, leaving all
       other cases to be dealt with by appropriate state law. Kann at 95.

       A mailing cannot be said to be in furtherance of a scheme to defraud when it occurs after
       the scheme has reached fruition. See Kann, 323 U.S. at 94. Obviously, such a mailing
       cannot be considered even as incident to an essential part of the scheme. In
       the Kann case, the defendants cashed fraudulently obtained checks at various banks,
       knowing that the checks would be forwarded to a drawee bank for collection. The court
       held that the mailing was not matelial to the consummation of the scheme, and therefore
       concluded that there was no mail fraud. Id. To the same effect was United States v.
       Maze, 414 U.S. 395, 401-02, in which the Court detennined that the mailing element was
       not satisfied by the mailing of credit card invoices for payment following the use of a
       stolen credit card to obtain goods and services. See also Parr v. United States, 363 U.S.
       370 (l960)(mailing element not satisfied either by mailing of credit card statements by
       oil company to school district defrauded by unauthorized use of card or by mailing of
       checks in payment of the statements). Altman at 102-103.

        Based on Kann, Parr, and Maze, mailings in or wiring premiums due are certainly not
mailings or wirings in furtherance of any scheme to defraud. However, not only did the
government use the wrong mailings and wires to prosecute this case, even the ones that it used
are not found within the Statute of Limitations. See the table below:

                                                                     APP        POLICY     CHARGE
                INSURED         STATE   CARRIER        COUNTS        DATE        DATE       DATE
Straw 1     Carrin, Marvin       NY       PHX             1,2,3,4   7/18/06     8/14/06    6/16/09
Straw 2     Esparo, Vito         CT       PM                    S   7/11/07      2/28/08   4/14/10
Straw 3     Knobloch, Miriam     NY       PM                    6   6/30/08    . 8/1/08    8/29/08
Straw 4     Martinez, Teresa     CA       PM             7,8,9,10   5/23/08     9/26/08    3/25/09
            Pauisrud, Luella
Straw 5     Mae                  AZ       PHX         11,12,13,14   3/14/08     7/4/08      2/1/10
            Amsterdam,
Straw 6     Judith               NJ      SUN          15,16,17,18   3/11/08     5/27/08    8/21/09
Straw 7     Cooper, Henry        NY       PHX                 19     4/5/07    6/22/07     5/10/10
Straw 8     Goelzer, Ronald      TX       LFG              20,21    12/24/08   12/28/08    12/30/08
Straw 9     Musiker, Judith      NY       LFG                 22     3/2/07     3/29/07    3/26/09
Straw 10    Pennington, Joan     TX       LFG          23,24,25     9/9/08      9/18/08    8/26/09
 Straw 11   Jacobson, Rosa       TX       LFG            26,27,28   6/19/08      7/7/08    11/4/09
Straw 12    Zahner, Beat (CTl    CT       PHX         29,30,31,32    4/8/08      5/7/08     5/6/09
Straw 13    Spencer, Sash        FL       LFG           34,48,59    12/17/06   12/22/06     6/3/09
Straw 14    Lambert              GA       LFG                 51    11/14/08     1/6/09    6/2/09
Straw 15    Sanders              TX       LFG              54,55    6/11/08     7/21/08    6/17/09




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          Moreover, Insureds 13, 14, and 15 were only inserted into the Superseding Indictment to

support the money laundering cmmts. If there is no scheme to defraud or mailings or wires in

furtherance concerning the Sash Spencer policy, then there is no mail or wire fraud to support the

money lamldering counts in the Indictment.

   III.      MR. CARPENTER'S EVIDENCE IN SUPPORT OF HIS GOOD FAITH
             DEFENSE SHOULD PREVAIL IN THIS CASE

          Not only did the government fail to prove Mr. Carpenter's intent to defraud beyond a

reasonable doubt, they also failed to overcome Evidence offered in support of Mr. Carpenter's

"Good Faith" in this case. In the Second Circuit, Good Faith is a complete defense to allegations

of Mail & Wire Fraud:

          Good faith would be a complete defense: the burden is on the government to show lack of
          good faith beyond a reasonable doubt. United States v. Bronston, 658 F.2d 920, 930 (2d
          Cir. 1981).

          Therefore, Mr. Carpenter respectfully asks the Comi to hold an evidentiary hearing where

Mr. Carpenter can present witnesses to further support and prove his good faith defense if

necessary, which would also further snpport the evidence on the record that he did not intend to

deceive anyone, nor had he ever lied to any carrier.

                                          CONCLUSION

          Therefore, based on the arguments above and the other substantive arguments made in

Mr. Carpenter's original Motion for a Judgment of Acquittal pursuant to Rule 29, Mr. Carpenter

respectfully asks the Comi to grant this Motion for Reconsideration, hold a hearing, and grant

Mr. Carpenter's Judgment of Acquittal.




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    Wherefore. it is so moved.
                                 Respectfully submitted,
                                 Defendant, Daniel Carpenter

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                                       CERTIFICATION

       This is to certify that on November 14, 2017, a copy of the foregoing Memorandum was
served by email to all parties by operation of the Court's electronic filing system or by email on
anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court's CM/ECF System.

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